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03/12/2021 01:09 AM CST




                                                        - 257 -
                               Nebraska Supreme Court Advance Sheets
                                        308 Nebraska Reports
                                           DICK v. KOSKI PROF. GROUP
                                               Cite as 308 Neb. 257



                    Robert Dick, appellee and cross-appellant, v. Koski
                      Professional Group, P.C., third-party plaintiff,
                       appellant and cross-appellee, and Bland &amp;
                         Associates, P.C., third-party defendant,
                               appellee and cross-appellant.
                                                   ___ N.W.2d ___

                                        Filed January 29, 2021.   No. S-19-132.

                                            supplemental opinion
                  Appeal from the District Court for Douglas County: J
               Russell Derr, Judge. Former opinion modified. Motion for
               rehearing overruled.

                  Robert M. Slovek and Dwyer Arce, of Kutak Rock, L.L.P.,
               for appellant.

                 Aaron A. Clark, Ruth A. Horvatich, and Cody E.
               Brookhouser-Sisney, of McGrath, North, Mullin &amp; Kratz, P.C.,
               L.L.O., for appellee Robert Dick.

                 Ryan M. Kunhart and Jeffrey J. Blumel, of Dvorak Law
               Group, L.L.C., for appellee Bland &amp; Associates, P.C.

                 Heavican, C.J., Cassel, Stacy, Funke, Papik, and
               Freudenberg, JJ.

                 Per Curiam.
                 This case is before us on a motion for rehearing filed
               by the appellant, Koski Professional Group, P.C. (KPG),
                             - 258 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                   DICK v. KOSKI PROF. GROUP
                       Cite as 308 Neb. 257
concerning our opinion in Dick v. Koski Prof. Group, 307 Neb.
599, 950 N.W.2d 321 (2020).
    We find no substantive merit to KPG’s motion and overrule
it, but modify the opinion as follows:
    (1) In the background section, under the subheading
“Peremptory Challenges,” we withdraw the last sentence of
the sole paragraph and substitute the following: “Other than a
marked copy of a jury roster included in a supplemental tran-
script, the jury selection process is not otherwise reflected in
the appellate record.”
    (2) In the analysis section, under the subheading “Peremptory
Challenges (Assignment of Error No. 1),” we withdraw the
seventh paragraph and substitute the following:
          We do not decide that question here. While KPG has
       offered a marked copy of a jury roster in a supplemental
       transcript, the markings on that roster do not match the
       roster’s legend sufficiently to support KPG’s claim that
       it exhausted all its peremptory challenges. As such, the
       record is insufficient to support its assignment of error
       even if we found merit to KPG’s legal premise.
    The remainder of the opinion shall remain unmodified.
                            Former opinion modified.
                            Motion for rehearing overruled.
    Miller-Lerman, J., not participating.
